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 1                                                                The Honorable John C. Coughenour

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 6

 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8
 9   THE DUWAMISH TRIBE, et al.,
                                                          No. 22-cv-0633 (JCC)
10                                       Plaintiffs,
                                                          DEFENDANTS’ OPPOSITION TO THE
11          v.                                            MUCKLESHOOT TRIBE’S MOTION TO
                                                          INTERVENE AS A DEFENDANT
12   DEB HAALAND, et al.,

13                                     Defendants.

14
            The Court should deny the Muckleshoot Indian Tribe’s request to intervene as of right
15
     because Muckleshoot does not meet the requirements of Federal Rule of Civil Procedure
16

17   24(a)(2). Specifically, Muckleshoot does not demonstrate how its ability to protect its interests

18   would be impaired by the disposition of this action. Moreover, the United States adequately
19   represents Muckleshoot’s interests in defending this litigation. Accordingly, the Court should
20
     deny Muckleshoot’s motion to intervene as of right.1
21
                                             BACKGROUND
22
            This is Plaintiffs’ second lawsuit challenging the Department of Interior’s final
23

24   administrative determination denying the Duwamish Tribe federal tribal recognition. See First

25
     1
            Defendants do not oppose Muckleshoot’s alternative request for permissive intervention.
26
     DEFENDANTS’ OPPOSITION TO THE MUCKLESHOOT TRIBE’S                                    U.S. DEPT. OF JUSTICE
     MOTION TO INTERVENE AS A DEFENDANT                                              ENVIRONMENT & NATURAL
                                                                                          RESOURCES DIVISION
     CASE NO. 22-CV-0633 (JCC) - 1                                                                 150 M St NE
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 1   Am. Compl. (ECF No. 2) ¶ 2. In the prior lawsuit, Plaintiffs brought claims under the
 2
     Administrative Procedure Act (“APA”) and Fifth Amendment of the U.S. Constitution to
 3
     challenge the Department’s 2001 determination that the Duwamish Tribe failed to demonstrate
 4
     that it met the regulatory requirements for federal recognition. See Hansen v. Kempthorne, Civ.
 5
     A. No. 08-0717 (JCC) (W.D. Wash.) (Complaint filed on May 7, 2008).
 6

 7          Muckleshoot moved to intervene as a defendant in Hansen, which the Court denied2 and

 8   later limited Muckleshoot’s participation to amicus curiae.3 Ultimately, the Court granted
 9   Plaintiffs’ motion for summary judgment and vacated and remanded the Department’s decision
10
     “to either consider the Duwamish petition under the [Department’s updated] 1994
11
     acknowledgement regulations or explain why it declines to do so.” Hansen v. Salazar, Civ. A.
12
     No. 08-0717 (JCC), 2013 WL 1192607, at *11 (W.D. Wash., Mar. 22, 2013).
13

14          Plaintiffs filed the instant action in May 2022 to challenge the Department’s post-remand

15   decision that again declined to recognize Plaintiffs under the Department’s acknowledgment

16   regulations. See First Am. Compl. ¶ 2. Like their earlier lawsuit, Plaintiffs bring their claims
17
     under the APA and Fifth Amendment. Id. Muckleshoot has now moved to intervene in this
18
     action. See generally Mot. to Intervene (ECF No. 14).
19
                                        STANDARD OF REVIEW
20

21          For intervention of right under Rule 24(a)(2), “the claim or defense for which

22   intervention is sought,” Fed. R. Civ. P. 24(c), must be such that the person who seeks to

23

24   2
            See Hansen v. Kempthorne, Civ. A. No. 08-0717 (JCC), 2008 WL 11508392, at *1 (W.D.
     Wash., Oct. 7, 2008).
25
     3
            See Hansen v. Kempthorne, Civ. A. No. 08-0717 (JCC), 2008 WL 11508392, at *1 (W.D.
26   Wash., Oct. 7, 2008).
     DEFENDANTS’ OPPOSITION TO THE MUCKLESHOOT TRIBE’S                                     U.S. DEPT. OF JUSTICE
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 1   intervene (1) “claims an interest relating to the property or transaction that is the subject of the
 2   action” and (2) “is so situated that disposing of the action may as a practical matter impair or
 3
     impede [its] ability to protect its interest.” Fed. R. Civ. P. 24(a)(2). Even if those requirements
 4
     are met, there is no right to intervene if the “existing parties [in the action] adequately represent
 5
     that interest.” Id.
 6

 7           Courts in this Circuit apply the following four-part test when analyzing a motion to

 8   intervene of right under Rule 24(a)(2):

 9           (1) the motion must be timely;
10           (2) the applicant must claim a “significantly protectable” interest relating to the
11           property or transaction which is the subject of the action;

12           (3) the applicant must be so situated that the disposition of the action may as a
             practical matter impair or impede its ability to protect that interest; and
13
             (4) the applicant's interest must be inadequately represented by the parties to the
14           action.
15
     Wilderness Soc’y v. U.S. Forest Serv., 630 F.3d 1173, 1177 (9th Cir. 2011) (quoting Sierra Club
16
     v. EPA, 995 F.2d 1478, 1481 (9th Cir. 1993)).
17
                                                 ARGUMENT
18

19           Muckleshoot fails to show that the disposition of this APA-based action would impair its

20   ability to protect its interests because there are no property or treaty rights at stake in this

21   litigation. In addition, the United States adequately represents any interest Muckleshoot could
22
     have in this action because it concerns only whether the Department’s decision was rational and
23
     lawful. Accordingly, the Court should deny Muckleshoot’s request to intervene by right. 4
24

25   4
             As noted, the United States does not challenge Muckleshoot’s motion to the extent it
     seeks to participate as amicus or, alternatively, via permissive intervention. The United States
26   also does not dispute that Muckleshoot’s motion is timely.
     DEFENDANTS’ OPPOSITION TO THE MUCKLESHOOT TRIBE’S                                         U.S. DEPT. OF JUSTICE
     MOTION TO INTERVENE AS A DEFENDANT                                                   ENVIRONMENT & NATURAL
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 1     I.       Muckleshoot Fails to Establish a Significant Protectable Interest in This Action.
 2          First, Muckleshoot claims no property rights at issue in this tribal recognition case
 3
     between the United States and Plaintiffs. Rather, Muckleshoot argues that Plaintiffs seek relief
 4
     that is contrary to the Court’s judgment in other litigation involving claims to treaty rights in the
 5
     State of Washington. See Mot. to Intervene at 2 (citing United States v. Washington
 6

 7   (Washington II), 476 F. Supp. 1101, 1104 (W.D. Wash. 1979), aff’d, 641 F.2d 1368 (9th Cir.

 8   1981)). Specifically, Muckleshoot asserts an interest in protecting its treaty fishing rights and

 9   “ownership and control . . . of cultural items recovered from Duwamish village sites,” see id. at
10   8, which Muckleshoot asserts would be “substantially affected” by a determination in this action.
11
     Id. at 9. Muckleshoot is incorrect.
12
            Plaintiffs challenge the Department’s decision not to recognize Plaintiffs as an Indian
13
     tribe. The case is therefore similar to Hansen and Greene v. United States, 996 F.2d 973, 978
14

15   (9th Cir. 1993), where the courts found that although treaty rights and recognition are related,

16   they raise fundamentally different issues. Specifically, in Greene, the Ninth Circuit affirmed the

17   district court’s denial of a tribe’s motion to intervene because, among other things, “[f]ederal
18
     recognition does not self-execute treaty rights claims[.]” 996 F.2d at 978. Thus, none of the
19
     determinations regarding Muckleshoot’s treaty rights in the Washington litigation would be
20
     impacted by any ruling or remand in this case challenging the Department’s decision not to
21
     recognize Plaintiffs as an Indian tribe.
22

23          Muckleshoot attempts to resist this conclusion by focusing on Plaintiffs’ first request for

24   relief, see Mot. to Intervene at 7, which requests a declaratory judgment that “the Duwamish
25   Tribe has been recognized by Congress and other federal authorities as an Indian tribe within the
26
     DEFENDANTS’ OPPOSITION TO THE MUCKLESHOOT TRIBE’S                                      U.S. DEPT. OF JUSTICE
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                                                                                            RESOURCES DIVISION
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 1   meaning of the List Act and as the successor in interest to the Tribe that signed the Treaty of
 2   Point Elliott.” First Am. Compl. ¶ 143. But that request, on its face, does not assert any treaty or
 3
     property rights that would implicate any of Muckleshoot’s competing rights or interests because
 4
     treaty rights must be litigated separately from recognition. See United States v. Washington, 593
 5
     F.3d 790, 801 (9th Cir. 2010) (“There are good reasons for adhering to the rule that treaty tribes
 6

 7   are not entitled to intervene in recognition decisions to protect against possible future assertions

 8   of treaty rights by the newly recognized tribe, whether or not that tribe has previously been the
 9   subject of a treaty rights decision.”). This case involves recognition, not treaty rights.
10
            As this Court has previously recognized, binding Ninth Circuit precedent in Greene holds
11
     that intervention is inappropriate in an action involving federal tribal recognition and not treaty
12
     rights. See Hansen, 2008 WL 11508392, at *4. To be sure, this Court previously noted some
13

14   “tension” in the Ninth Circuit’s precedent for intervention in such cases. Id. at *3. As noted, the

15   Ninth Circuit held in Greene that federal recognition cases did not implicate treaty rights. 996

16   F.2d at 978. Subsequently, in United States v. Washington (Washington III), the Ninth Circuit
17   reversed the district court’s denial of the motion to reopen the case to reconsider a tribe’s treaty
18
     rights because, in that case, the panel found that federal recognition was highly relevant to the
19
     determination of treaty rights. 394 F.3d 1152, 1159 (9th Cir. 2005) (“[A]lthough we have never
20
     explicitly held that federal recognition necessarily entitles a signatory tribe to exercise treaty
21

22   rights, this is an inevitable conclusion.”), overruled, 593 F.3d 790 (9th Cir. 2010) (en banc). In

23   denying Muckleshoot’s motion to intervene in Hansen, the Court found that “the holding in

24   Greene [is] still the law of the Ninth Circuit,” Hansen, 2008 WL 11508392, at *4, and in United
25
     States v. Washington (Washington IV), the Ninth Circuit ultimately resolved any inconsistency
26
     DEFENDANTS’ OPPOSITION TO THE MUCKLESHOOT TRIBE’S                                       U.S. DEPT. OF JUSTICE
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 1   that had arisen between Washington III and the earlier Greene case “in favor of the Greene
 2   proposition: recognition proceedings and the fact of recognition have no effect on the
 3
     establishment of treaty rights.” 593 F.3d at 793. That holds true today and Muckleshoot does
 4
     not argue otherwise. Thus, as in Hansen, the case challenges denial of federal recognition and
 5
     intervention as of right should be denied.
 6

 7          In sum, Muckleshoot fails to point to any authority undermining Greene and similarly

 8   fails to establish that its interests would be impaired by the outcome of this litigation. Indeed,

 9   because this case arises under the APA, if the Court finds the Department’s decision to be
10   arbitrary and capricious or unlawful after its review of the administrative record, “the proper
11
     course [is] to remand to the [a]gency.” Nat’l Ass’n of Home Builders v. Defs. of Wildlife, 551
12
     U.S. 644, 657 (2007); see First Am. Compl. ¶¶ 143, 145-47 (seeking relief under Section 706 of
13
     the APA). If the Court were to rule in Defendants’ favor, Muckleshoot’s interests would not be
14

15   impaired. And if the Court were to rule in Plaintiffs’ favor and remand the matter back to the

16   Department, that outcome would not impair Muckleshoot’s interests because a remand would

17   enable the Department to further consider the Duwamish Tribe’s application under the relevant
18
     factual and legal backdrop. Even if the Department were to reverse its recognition decision upon
19
     remand, Muckleshoot could presumably directly challenge the Department’s decision in a new
20
     lawsuit (assuming they would have standing to do so), and treaty rights issues would be resolved
21
     in the Washington litigation. Thus, Muckleshoot’s interests are not impaired here.
22

23    II.       The United States Adequately Represents Muckleshoot’s Interests.

24          Second, even assuming impairment, Muckleshoot fails to demonstrate that the United
25   States cannot adequately represent its purported interests in this litigation. As noted, this case
26
     DEFENDANTS’ OPPOSITION TO THE MUCKLESHOOT TRIBE’S                                      U.S. DEPT. OF JUSTICE
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 1   involves judicial review under the APA of the Department’s post-remand decision based on the
 2   Department’s administrative record. The United States is fully capable of representing the
 3
     interests of nonparties in this particular suit, where the question before the court is solely whether
 4
     the Department’s decision is rational and complies with the law. Here, the Department declined
 5
     the Duwamish Tribe’s request for federal recognition and has fully defended that denial in
 6

 7   Hansen and in this litigation. Given this posture, it is incumbent on Muckleshoot to demonstrate

 8   why the United States could not adequately represent its interests here. See Arakaki v. Cayetano,

 9   324 F.3d 1078, 1086 (9th Cir. 2003) (noting that if the proposed intervenor’s interest is “identical
10   to that of one of the present parties, a compelling showing should be required to demonstrate
11
     inadequate representation” (citation omitted)).
12
            Muckleshoot’s effort to show inadequate representation by the Federal Government falls
13
     short. Indeed, Muckleshoot concedes that it “share[s] the view that the challenged government
14

15   decision-making process was fair and complied with the requirements of due process and the

16   APA[.]” Mot. to Intervene at 11. Nevertheless, Muckleshoot argues that the United States

17   cannot adequately represent its interests because of its potential to reverse course in its
18
     recognition of the Duwamish Tribe. See id. (citing Cherokee Nation v. Babbitt, 117 F.3d 1489,
19
     (D.C. Cir. 1997). But Muckleshoot’s reliance on Cherokee Nation is misplaced.
20
            In Cherokee Nation, the D.C. Circuit held that the Department could not adequately
21
     represent the interests of an absent tribe in an action seeking review of a recognition decision.
22

23   117 F.3d at 1497. The Court ultimately found that the United States’ interests diverged from the

24   absent tribe because the Department had twice reversed its position regarding the tribe’s
25   sovereignty. Id. Here, Muckleshoot merely asserts that it is “possible that at some point in the
26
     DEFENDANTS’ OPPOSITION TO THE MUCKLESHOOT TRIBE’S                                       U.S. DEPT. OF JUSTICE
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 1   future” the Department could reverse course. Mot. to Intervene at 11, n.3 (emphasis added).
 2   Moreover, unlike this case, Cherokee Nation involved a favorable determination extending
 3
     federal recognition to a tribe, which was challenged by a different federally-recognized tribe with
 4
     competing interests. Thus Cherokee Nation is readily distinguishable and Muckleshoot’s
 5
     speculation about the mere possibility of a government reversal fails to show that Muckleshoot’s
 6

 7   interests are inadequately represented.

 8          Next, Muckleshoot points to several differences between the defenses pled in its

 9   proposed answer and the United States’ answer. See Mot. to Intervene at 12. The crux of those
10   purportedly divergent defenses is that the forthcoming administrative record will show that
11
     Plaintiffs have failed to exhaust their administrative remedies as to requesting the Interior Board
12
     of Indian Appeals to hold an adjudicative hearing to resolve disputed issues of material fact or
13
     augment the record. Id. For starters, Defendants have not yet lodged the administrative record
14

15   and the failure to exhaust administrative remedies is not an affirmative defenses required to be

16   pled under Rule 8(c)(1). Further, should Plaintiffs press any arguments regarding unexhausted

17   issues in summary judgment briefing, the United States intends to make any appropriate
18
     exhaustion arguments based on the forthcoming administrative record. Regardless of how those
19
     arguments play out, a “mere difference of opinion concerning the tactics with which litigation
20
     should be handled does not make inadequate the representation of those whose interests are
21
     identical with that of an existing party or who are formally represented in the lawsuit.” See
22

23   Jones v. Prince George’s County, 348 F.3d 1014, 1020 (D.C. Cir. 2003) (internal quotation

24   marks omitted). Here, Defendants’ answer should not be read in a vacuum and Muckleshoot’s
25
26
     DEFENDANTS’ OPPOSITION TO THE MUCKLESHOOT TRIBE’S                                     U.S. DEPT. OF JUSTICE
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 1   slight difference in litigation tactics is of no moment. In sum, Muckleshoot fails to show that the
 2   United States will not adequately represent its interests in this litigation.
 3
                                                CONCLUSION
 4
             For the foregoing reasons, the Court should not permit Muckleshoot to intervene as of
 5
     right. Rather, the Court limit Muckleshoot’s participation in this matter to the role of amicus or,
 6

 7   alternatively, permit Muckleshoot to intervene by permission.

 8   Dated: August 15, 2022
            Washington, DC
 9
                                                      Respectfully submitted,
10

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